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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                       Plaintiff,

   v.                                             Case No. 1:20-cv-03590-JEB

META PLATFORMS, INC.

                       Defendant.

  [PROPOSED] ORDER GRANTING SUPPLEMENTAL MOTION TO QUASH TRIAL
     SUBPOENA FILED ON BEHALF OF A NON-PARTY WITNESS FORMERLY
                      EMPLOYED BY EPIC GAMES

          Upon consideration of the Joinder and Supplemental Motion to Quash Trial Subpoena

 Filed on Behalf of a Non-Party Witness Formerly Employed by Epic Games filed by non-party

 Kimberly Baumgarten (the “Motion”), it is hereby:

          ORDERED that the Motion be, and hereby is, GRANTED in its entirety.

IT IS SO ORDERED.


 Dated:                       , 2025
                                                     Honorable James E. Boasberg
                                                     United States District Judge




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